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      UNITED STATES OF AMERICA
10
                              UNITED STATES DISTRICT COURT
11
                        FOR THE CENTRAL DISTRICT OF CALIFORNIA
12
      UNITED STATES OF AMERICA,                 CR No. 18-00331-GW
13                                              CV No. 23-10627-GW
                 Plaintiff,
14                                              GOVERNMENT’S EX PARTE APPLICATION
                       v.                       FOR ORDER SEALING DOCUMENTS;
15                                              DECLARATION OF LINDSEY GREER
      ARMAN GABAEE,                             DOTSON
16     aka “Arman Gabay,”

17               Defendant.
18

19          Plaintiff United States of America, by and through its counsel
20    of record, the United States Attorney for the Central District of
21    California and Assistant United States Attorneys Lindsey Greer Dotson
22    and Thomas F. Rybarczyk, hereby applies ex parte for an order that
23    two documents be filed under seal in support of the government’s
24    opposition to Defendant-Petitioner ARMAN GABAEE’s Motion to Vacate,
25    Set Aside, or Correct Sentence Pursuant to 28 U.S.C. § 2255.
26    ///
27    ///
28    ///
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1           This ex parte application is based upon the attached declaration

2     of Lindsey Greer Dotson.

3     Dated: August 19, 2024                Respectfully submitted,

4                                           E. MARTIN ESTRADA
                                            United States Attorney
5
                                            MACK E. JENKINS
6                                           Assistant United States Attorney
                                            Chief, Criminal Division
7

8                                              /s/ Lindsey Greer Dotson
                                            LINDSEY GREER DOTSON
9                                           THOMAS F. RYBARCZYK
                                            Assistant United States Attorneys
10
                                            Attorneys for Plaintiff
11                                          UNITED STATES OF AMERICA
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1                            DECLARATION OF LINDSEY GREER DOTSON

2           I, LINDSEY GREER DOTSON, declare as follows:

3           1.    I am an Assistant United States Attorney and Chief of the

4     Public Corruption and Civil Rights Section at the United States

5     Attorney’s Office for the Central District of California.                 I have

6     knowledge of the facts set forth herein and could and would testify

7     to those facts fully and truthfully if called and sworn as a witness.

8           2.    On May 6, 2024, the Court issued an order permitting the

9     government to serve interrogatories on defendant ARMAN GABAEE’s
10    former counsel.        (Dkt. 319.)     The Court stated: “The information
11    disclosed in prior counsel’s written responses and any supporting
12    exhibits will be considered confidential information and, absent
13    further Court order, will not be disclosed by the government....”
14    (Id. at ¶ 7.)     The Court also ordered that “any pleadings referencing
15    the information disclosed in prior counsel’s written responses will

16    be filed under seal.”        (Id.)

17          3.    The government requests leave to file under seal two

18    documents that reference “confidential information” as described in

19    paragraph 7 of the Court’s order filed at docket no. 319.                 The Court

20    has ordered that such information be filed under seal.

21          4.    The first document is the Declaration of Lindsey Greer

22    Dotson and Exhibit A, which contains prior counsel’s responses to the

23    government’s interrogatories.

24          5.    The second document is the unredacted version of the

25    government’s opposition to defendant’s section 2255 motion.                  The

26    government publicly filed a redacted version of its opposition on

27    August 19, 2024, in which confidential information containing prior

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1     counsel’s responses to the government’s interrogatories was redacted

2     from public view.

3           6.    Because defendant is unrepresented, the government has been

4     unable to ascertain the defense position on filing the documents

5     under seal.

6           I declare under penalty of perjury under the laws of the United

7     States of America that the foregoing is true and correct and that

8     this declaration is executed at Los Angeles, California, on August

9     19, 2024.
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11                                             LINDSEY GREER DOTSON

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 1                                  CERTIFICATE OF SERVICE

 2
            I, Adriana Santos, declare:
 3
            That I am a citizen of the United States and a resident of or employed in
 4
      Los Angeles County, California; that my business address is the Office of United
 5
      States Attorney, 312 North Spring Street, Los Angeles, California 90012; that I am
 6    over the age of 18; and that I am not a party to the above-titled action;
 7          That I am employed by the United States Attorney for the Central District of
 8    California, who is a member of the Bar of the United States District Court for the

 9    Central District of California, at whose direction I served a copy of:

10     GOVERNMENT'S EX-PARTE APPLICATION FOR ORDER SEALING DOCUMENTS;DECLARATION       OF
       LINDSEY GREER DOTSON.
11

12      ☐ Placed in a closed envelope for       ☒ Placed in a sealed envelope for
          collection and inter-office             collection and mailing via United
13        delivery, addressed as follows:         States mail, addressed as follows:

14                                              ARMAN GABAEE
                                                Fed. Reg. No. 76335-112
15                                              FCC Lompoc Camp
                                                3705 West Farm Road
16                                              Lompoc, CA 93436-2756

17
        ☐ By hand delivery, addressed as        ☐ By facsimile, as follows:
18        follows:
19      ☐ Via email, as follows:                ☐ By Federal Express, as follows:
20

21    This Certificate is executed on August 20, 2024, at Los Angeles, California.
22    I certify under penalty of perjury that the foregoing is true and correct.
23

24                                              Adriana Santos
25                                              Adriana Santos
                                                Legal Assistant
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